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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Dentons US LLP, 601 South Figueroa Street, Suite 2500, Los Angeles, CA 90017


A true and correct copy of the foregoing document entitled (specify): Monthly Operating Report For the Month Ending
November 30, 2016, will be served or was served (a) on the judge in chambers in the form and manner required by LBR
5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 28, 2016, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

SEE ATTACHED SERVICE LIST NO. 1

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date ) December 28, 2016, I will serve the following persons and/or entities
at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in
a sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

SEE ATTACHED SERVICE LIST NO. 2.
                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on December 28, 2016, I will serve the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



Via Hand Delivery
Hon. Ernest M. Robles
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and U.S. Courthouse
255 East Temple Street/Courtroom 1568
Los Angeles, CA 90012

                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 December 28, 2016                GLENDA SPRATT                                               /s/ Glenda Spratt
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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                                          1                                        SERVICE LIST
                                          2   In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                              Medical Center
                                          3
                                              1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
                                          4
                                            Anthony R. Bisconti on behalf of Interested Party Official Committee of Unsecured
                                          5 Creditors - tbisconti@bmkattorneys.com, admin@bmkattorneys.com

                                          6 Karl E Block on behalf of Creditor Harbor-Gardens Capital I, LLC
                                            kblock@loeb.com, plavine@loeb.com
                                          7
                                            Bruce M Bunch - pam@bunchlawyers.com
                                          8 Louis J Cisz, III on behalf of Creditor Cerritos Gardens General Hospital Company

                                          9 lcisz@nixonpeabody.com, sf.managing.clerk@nixonpeabody.com
                                            Dawn M Coulson on behalf of Interested Party Courtesy NEF
601 SOUTH FIGUEROA STREET, 25TH FLOOR




                                         10 dcoulson@eppscoulson.com, cmadero@eppscoulson.com
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11 Jerome Bennett Friedman on behalf of Interested Party Courtesy NEF
                                            jfriedman@flg-law.com, msobkowiak@flg-law.com;jmartinez@flg-
         DENTONS US LLP




                                         12 law.com;sbiegenzahn@flg-law.com
            (213) 623-9300




                                         13 W. Jeffery Fulton on behalf of Creditor U.S. Bank National Association
                                            jeff@jeffultonlaw.com; Yvonne@jeffultonlaw.com
                                         14
                                            Barry S. Glaser on behalf of Interested Party Courtesy NEF
                                         15 bglaser@swesq.com; erhee@swesq.com

                                         16 Jeffrey I Golden on behalf of Interested Party Official Committee Unsecured Creditors
                                            jgolden@wgllp.com, kadele@wgllp.com;lfisk@wgllp.com;tziemann@wgllp.com
                                         17 Rhonda S. Goldstein on behalf of Creditor The Regents of the University of California
                                            rhonda.goldstein@ucop.edu;lissa.ly@ucop.edu
                                         18
                                            Lawrence J. Hilton on behalf of Creditor Cerner Health Services, Inc.
                                         19 lhilton@onellp.com; lthomas@onellp.com; info@onellp.com; janderson@onellp.com;
                                            crodriguez@onellp.com
                                         20
                                            David Jacobs on behalf of Interested Party Courtesy NEF
                                         21 cemail@ebglaw.com, djacobs@ebglaw.com

                                         22 Ivan L Kallick on behalf of Interested Party KND Development 53, LLC
                                            ikallick@manatt.com, ihernandez@manatt.com
                                         23
                                            Eve H Karasik on behalf of Interested Party Courtesy NEF
                                         24 ehk@lnbyb.com
                                              Steven J. Katzman on behalf of Interested Party Official Committee Unsecured Creditors
                                         25
                                              skatzman@bmkattorneys.com; admin@bmkattorneys.com
                                         26 Gary E Klausner on behalf of Creditor Roxbury Healthcare Services, LLC
                                            gek@lnbyb.com
                                         27

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                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

                                         3 Gary E Klausner on behalf of Creditor Sycamore Health Care Services, LLC
                                           gek@lnbyb.com
                                         4
                                           Gary E Klausner on behalf of Interested Party Courtesy NEF
                                         5 gek@lnbyb.com

                                         6 Stuart I. Koenig on behalf of Interested Party Courtesy NEF
                                           Skoenig@cmkllp.com, knielsen@cmkllp.com
                                         7 John P Kreis on behalf of Interested Party John P. Kreis, PC

                                         8 jkreis@kreislaw.com, j.kreis@ca.rr.com
                                           Dare Law on behalf of U.S. Trustee United States Trustee (LA)
                                         9 dare.law@usdoj.gov, ron.maroko@usdoj.gov
601 SOUTH FIGUEROA STREET. 25TH FLOOR




                                        10 Elan S. Levey on behalf of Creditor U.S. Department of Health and Human Services
 LOS ANGELES , CALIFORNIA 90017-5704




                                           elan.levey@usdoj.gov; louisa.lin@usdoj.gov
                                        11
                                           Wendy A Loo on behalf of Interested Party People of the State of CA
         DENTONS US LLP




                                        12 wendy.loo@lacity.org
            (213) 623-9300




                                        13 Stephen A Madoni on behalf of Creditor Spine Surgical Implants, Inc.
                                           stevemadoni@aol.com, nathally@madonilaw.com
                                        14 Howard N Madris on behalf of Creditor Lenders Funding, LLC

                                        15 hmadris@madrislaw.com
                                           Boris I. Mankovetskiy on behalf of Official Committee of Unsecured Creditors
                                        16 bmankovetskiy@sillscummis.com

                                        17 Amanda L Marutzky on behalf of Interested Party Courtesy NEF
                                           amarutzk@wthf.com, jjensen@watttieder.com
                                        18
                                           David W. Meadows on behalf of Creditor Olympus Corp. of the Americas
                                        19 david@davidwmeadowslaw.com

                                        20 Reed M Mercado - rmercado@sheppardmullin.com
                                           Benjamin Nachimson on behalf of Interested Party Courtesy NEF
                                        21 ben.nachimson@wnlawyers.com

                                        22 Steven G. Polard on behalf of Creditor Le’ Summit Healthcare, LLC
                                           stevenpolard@dwt.com, melissatrobel@dwt.com; Linapearmain@dwt.com
                                        23
                                           Kurt Ramlo on behalf of Interested Party Courtesy NEF
                                        24 kr@lnbyb.com, kr@ecf.inforuptcy.com

                                        25 David M Reeder on behalf of Creditor RollinsNelson Grp, LLC
                                           dmr@vrmlaw.com, jle@vrmlaw.com
                                        26 J. Alexandra Rhim on behalf of Creditor De Lage Landen

                                        27 arhim@hemar-rousso.com

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                                         1   SERVICE LIST (cont’d)
                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

                                         3 J. Alexandra Rhim on behalf of Respondent De Lage Landen Financial Services, Inc.
                                           arhim@hemar-rousso.com
                                         4
                                           Mary H Rose on behalf of Creditor Promise Gardens Lending Company, Inc. and
                                         5 Promise Hospital of East Los Angeles, L.P.
                                           mrose@buchalter.com, mrose@buchalter.com
                                         6
                                           Andrew H. Sherman on behalf of Official Committee of Unsecured Creditors
                                         7 asherman@sillscummis.com

                                         8 Leonard M Shulman on behalf of Interested Party Strategic Global Management, Inc.
                                           lshulman@shbllp.com
                                         9 Gerald N Sims on behalf of Creditor BETA Risk Management Authority
                                           jerrys@psdslaw.com, bonniec@psdslaw.com
601 SOUTH FIGUEROA STREET. 25TH FLOOR




                                        10
 LOS ANGELES , CALIFORNIA 90017-5704




                                           Alan Stomel on behalf of Interested Party Courtesy NEF
                                        11 alan.stomel@gmail.com, astomel@yahoo.com
         DENTONS US LLP




                                        12 Tiffany Strelow Cobb on behalf of Creditor Nuance Communications, Inc.
            (213) 623-9300




                                           tscobb@vorys.com
                                        13
                                           Wayne R Terry on behalf of Interested Party Courtesy NEF
                                        14 wterry@hemar-rousso.com

                                        15 Gary F Torrell on behalf of Creditor RollinsNelson Grp, LLC
                                           gft@vrmlaw.com
                                        16 United States Trustee (LA)
                                           ustpregion16.la.ecf@usdoj.gov
                                        17
                                           Kenneth K. Wang on behalf of Interested Party Courtesy NEF
                                        18 kenneth.wang@doj.ca.gov; Jennifer.Kim@doj.ca.gov; yesenia.caro@doj.ca.gov
                                        19 Johnny White      JWhite@wrslawyers.com, aparisi@wrslawyers.com

                                        20 Hatty K Yip on behalf of U.S. Trustee United States Trustee (LA)
                                           hatty.yip@usdoj.gov
                                        21 Matthew Zandi on behalf of Creditor Kaufman Borgeest & Ryan, LLP

                                        22 mzandi@kbrlaw.com

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                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

                                         3 2 TO BE SERVED BY U.S. MAIL:

                                         4   Regulatory Agencies
                                         5   United States Attorney’s Office             U.S. Department of Justice
                                             Central District of California              Office of the Attorney General of the United
                                         6   312 North Spring Street, Suite 1200         States
                                             Los Angeles, CA 90012                       950 Pennsylvania Avenue, NW
                                         7   Office: (213) 894-2400                      Washington, DC 20530-0001
                                             Fax: (213) 894-0141                         Office (202) 514-2000
                                         8                                               Fax: (202) 307-6777
                                         9   Wendi A. Horwitz                            Internal Revenue Service
                                             Deputy Attorney General                     300 North Los Angeles Street
601 SOUTH FIGUEROA STREET. 25TH FLOOR




                                        10   Dept. of Justice                            Los Angeles, CA 90012
 LOS ANGELES , CALIFORNIA 90017-5704




                                             Office of the Attorney General              Office: (213) 576-3009
                                        11   300 South Spring Street, Suite 1702
                                             Los Angeles, CA 90013
         DENTONS US LLP




                                        12
            (213) 623-9300




                                             Office: (213) 897-2178
                                             Email: wendi.horwitz@doj.ca.gov
                                        13
                                             State of California                         Sylvia Mathews Burwell, Secretary
                                        14   Franchise Tax Board                         U.S. Department of Health & Human Services
                                             300 South Spring Street, #5704              200 Independence Avenue, S.W.
                                        15   Los Angeles, CA 90013                       Washington, D.C. 20201
                                             Office: (916) 845-6500                      Office: (202) 690-6610
                                        16   Fax: None                                   Fax: (202) 690-7203
                                        17   Employment Development Dept.                Jennifer Kent, Director
                                             722 Capitol Mall                            California Department of Health Care Services
                                        18   Sacramento, CA 95814                        1501 Capitol Avenue, Suite 4510
                                             Office: (866) 333-4606                      Sacramento, CA 95814
                                        19                                               Office: (916) 464-4430
                                                                                         Fax: None
                                        20
                                             Internal Revenue Service                    Angela M. Belgrove
                                        21   600 Arch Street                             Assistant Regional Counsel
                                             Philadelphia, PA 19101                      U.S. Department of Health and
                                        22   Office: (267) 941-6800                      Human Services
                                                                                         Office of the General Counsel, Region IX
                                        23                                               90 7th Street, Suite 4-500
                                                                                         San Francisco, CA 94103-6705
                                        24                                               Office: (415) 437-8156
                                                                                         Fax: (415) 437-8188
                                        25   Office of the Attorney General
                                             Consumer Law Section
                                        26   Attn: Bankruptcy Notices
                                             455 Golden Gate Ave., Suite 11000
                                        27   San Francisco, CA 94102
                                             Office: (415) 703-5500
                                        28   Fax: (415) 703-5480
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                                             In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2   Medical Center

                                         3 Request for Special Notice

                                         4 Eric Weissmanm [e-mail only]                      Rose E. Bareham
                                            Mary D. Lane                                     Purkey & Associates
                                         5 Wilshire Pacific Capital Advisors LLC             5050 Cascade Road SE Suite A
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                                         6 Beverly Hills, CA 90211                           Office: (619) 940-0553 Ext. 3
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                                            Daniel R. Schimizzi                              Darrell W. Clark
                                         9 Bernstein-Burkley, PC                             Stinson Leonard Street LLP
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                                            Pittsburgh, PA 15219                             Office: (202) 785-9100
                                        11 Office: (412) 456-8121                            Fax: (202) 785-9163
                                            Fax: (412) 456-8135                              [Counsel for Cerner Health Services]
         DENTONS US LLP




                                        12 Email: dschmizzi@bernsteinlaw.com
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                                            [Counsel for Beckman Coulter, Inc.]
                                        13
                                            Louis J. Cisz III (NEF above)                    Robert L. Patterson, Esq.
                                        14 Nixon Peabody LLP                                 Slovak Baron Empey Murphy & Pinkney LLP
                                                                                             1800 E. Tahquiz Canyon Way
                                        15                                                   Palm Springs, California 92662

                                        16   Cerritos Gardens General Hospital Company       Mr. Oren Ben Ezra
                                             21520 South Pioneer Blvd., Suite 205            1250 E. Hallandale Beach Blvd., Suite 1000
                                        17   Hawaiian Gardens, CA 90716                      Hallandale Beach, FL 33009
                                             Attn: Pioneer Carson Corp., General Partner
                                        18          Attn: Cherna Moskowitz, President

                                        19   James Hamada, M.D.                              Amable Aguiliuz, M.D.
                                             21500 South Pioneer Blvd., Suite 208            21500 South Pioneer Blvd., Suite 209
                                        20   Hawaiian Gardens, CA 90716                      Hawaiian Gardens, CA 90716

                                        21   Rebecca J. Price                                Constance R. Doyle
                                             Norris McLaughlin & Marcus, P.A.                21509 Anza Avenue
                                        22   515 West Hamilton St., Suite 502                Torrance, CA 90503
                                             Allentown, PA 18101
                                        23
                                             Constance R. Doyle
                                        24   21509 Anza Avenue
                                             Torrance, CA 90503
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                                              In re: Gardens Regional Hospital and Medical Center, Inc. dba Gardens Regional Hospital and
                                         2    Medical Center

                                         3    Jeffrey Golden (NEF)                           Andrew H. Sherman (NEF)
                                              Lobel Weiland Golden & Friedman LLP            Sills Cummis & Gross, P.C.
                                         4    650 Town Center Drive, Suite 950               The Legal Center
                                              Costa Mesa, CA 92626                           One Riverfront Plaza
                                         5    Office: (714) 966-1000                         Newark, NJ 07102
                                              Fax: (714) 966-1002                            Office: (973) 643-6982
                                         6    Email: jgolden@wgllp.com                       Fax: (973) 643-6500
                                                                                             Email asherman@sillscummis.com
                                         7
                                              Anthony R. Bisconti (NEF)
                                         8    Steven Jay Katzman
                                              Bienert, Miller & Katzman, PLC
                                         9    903 Calle Amanecer, Suite 350
                                              San Clemente, CA 92672
601 SOUTH FIGUEROA STREET. 25TH FLOOR




                                        10    Office: (949) 369-3700
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                                              Fax: (949) 369-3701
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         DENTONS US LLP




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